   Case 1:20-cr-02023-SAB      ECF No. 3   filed 07/07/20   PageID.4 Page 1 of 1
                                                                         FILED IN THE
                                                                     U.S. DISTRICT COURT
                                                               EASTERN DISTRICT OF WASHINGTON



                                 PENALTY SLIP                    Jul 07, 2020
                                                                    SEAN F. MCAVOY, CLERK




DEFENDANT NAME: JAYME MECHELLE HUNT

TOTAL NO. COUNTS: 1


VIO: 18 U.S.C. §§ 113(a)(6), 1153 -- Assault Resulting in Serious Bodily
     Injury


PENALTY: CAG up to 10 years;
         and/or $250,000 fine;
         NMT 3 years supervised release;
         a $100 special penalty assessment.




CASE
NO.       1:20-CR-2023-SAB-1


AUSA         MDM
INITIAL
